        Case 19-34054-sgj11      Doc 4293 Filed 06/25/25 Entered 06/27/25 16:27:41                    Desc
                                  Court Admitted Exhibits Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: Highland Capital          Motion for Approval of Settlement with the HMIT          Case # 19−34054−sgj11
Management, L.P.                          Entities Rule 9019 doc. #4216
DEBTOR
                                              TYPE OF HEARING

Highland Capital Management,                                                         James Dondero/Patrick
                                                         VS
L.P.                                                                                 Daugherty
                                                                                     DEFENDANT /
PLAINTIFF / MOVANT                                                                   RESPONDENT


                                                                                     Michael Justin Lang/Andrew
John Morris/Louis M. Phillips                                                        K. York
ATTORNEY                                                                             ATTORNEY


                                                     EXHIBITS
SEE EXHIBIT & WITNES LIST AT DOC. #4253,                        SEE EXHIBIT & WITNESS LIST AT DOC. #4266
#4255, & #4271

Court Admitted Exhibits #1 through #9; #11 through              Court Admitted All Exhibits; #1 through #42
#56; #58 through #123 & #126

                                                                Dugaboy Exhibit #3 Letter dated June 24 2025:
                                                                Admitted by Michael Lang




                                                     June 25,
Michael Edmond                                                                   Stacey G Jernigan
                                                     2025
                                                     HEARING
REPORTED BY                                                                    JUDGE PRESIDING
                                                     DATE
